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 8                              UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
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11      VIASAT, INC., a Delaware corporation,          Case No.: 3:16-cv-00463-BEN-JMA
12                Plaintiff and Counter-Defendant,
                                                       ORDER GRANTING PLAINTIFFS'
13      v.                                             EX PARTE APPLICATION FOR
                                                       LEAVE TO CORRECT ERRORS IN
14      ACACIA COMMUNICATIONS, INC., a
                                                       ITS MOTIONS FOR SUMMARY
        Delaware corporation,
15                                                     JUDGMENT AND TO EXCLUDE
                  Defendant and Counter-Claimant.      EXPERT TESTIMONY
16
17                                                     [ECF No. 127]
18
19           PlaintiffViaSat, Inc. ("ViaSat") has filed an Ex Parte Application for Leave to
20     Correct Errors in its Motions for Summary Judgment and to Exclude Expert Testimony.
21     The proposed corrections will not change the substantive allegations contained in the
22     motions. Instead, they correct erroneous citation and quotations marks contained in each.
23           Having read and considered ViaSat's Ex Parte Application and given Acacia's lack
24     of objection, and good cause appearing, the Court hereby GRANTS the application.
25     ViaSat may file:

26           1.      The Corrected Memorandum of Points and Authorities in Support of

27                   ViaSat's Motion for Summary Judgment on Acacia's Counterclaim for

28                   Patent Misappropriation, attached in public, redacted form as Exhibit C to



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                  the application, and under seal in unredacted form as Exhibit F to the
 2                application; and
 3           2.   The Corrected Memorandum of Points and Authorities in Support of
 4                ViaSat's Motion to Exclude Expert Testimony, attached in public, redacted
 5                form as Exhibit E to the application, and under seal in unredacted form as
 6                Exhibit G to the application.
 7           IT IS SO ORDERED.

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       Dated: June/,o18                                                      -
                                                                . Benitez
11                                                United States District Judge
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